                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

MANUEL LUNA, JR.,             §
                              §                 CV. NO. SA-13-CV-985-DAE
     Petitioner/Plaintiff,    §
                              §
vs.                           §
                              §
EDGEWOOD INDEPENDENT          §
SCHOOL DISTRICT; KENNETH      §
JACOBS, INDIVIDUALLY AND AS §
EDGEWOOD I.S.D. CHIEF OF      §
POLICE; HENRY MOTA, III,      §
INDIVIDUALLY AND AS           §
EDGEWOOD ISD POLICE           §
LIEUTENANT; JESSE B. QUIROGA, §
INDIVIDUALLY AND AS           §
EDGEWOOD ISD POLICE           §
DETECTIVE; JOHN A. MORALES, §
INDIVIDUALLY AND AS           §
EDGEWOOD ISD BOARD TRUSTEE; §
and VELMA PENA, INDIVIDUALLY §
AND AS EDGEWOOD ISD BOARD §
OF TRUSTEE,                   §
                              §
     Defendants.              §

       ORDER DISMISSING CASE AS MOOT WITHOUT PREJUDICE

             On January 10, 2014, the Court held a hearing to determine the status

of the proceedings after the parties were ordered to confer (dkt. # 22) to discuss a

resolution of the issues raised in Manuel Luna’s (“Petitioner”) Motion for

Preliminary Injunction. (Dkt. # 2.) The parties have confirmed that the Criminal

Trespass Warning issued by the Edgewood Independent School District, which
was the subject of Petitioner’s Motion, has been withdrawn. Accordingly, the

parties all agree the case is moot as there is no longer a case and controversy

before the Court. See Const. art. III, § 2. Therefore, the Court hereby orders the

case DISMISSED AS MOOT without prejudice to re-filing. All other pending

motions are also hereby dismissed as moot and the case is ordered closed.

             IT IS SO ORDERED.

             DATED: San Antonio, Texas, January 10, 2014.
